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                                             #:103924



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                   9                           UNITED STATES DISTRICT COURT
                  10                      CENTRAL DISTRICT OF CALIFORNIA
                  11                                EASTERN DIVISION
                  12 CARTER BRYANT, an individual,           CASE NO. CV 04-9049 SGL (RNBx)
                  13              Plaintiff,                 Consolidated with
                                                             Case No. CV 04-09059
                  14        vs.                              Case No. CV 05-02727
                  15 MATTEL, INC., a Delaware                DECLARATION OF LESLEY E.
                     corporation,                            WILLIAMS IN SUPPORT OF
                  16                                         MATTEL, INC.'S OPPOSITION TO
                                  Defendant.                 MGA AND LARIAN'S MOTION TO
                  17                                         QUASH TRIAL SUBPOENA ISSUED
                                                             TO LARRY MCFARLAND
                  18 AND CONSOLIDATED ACTIONS
                  19                                         Hearing Date:      [TBA]
                                                             Time:              10:00 a.m.
                  20                                         Place:             Courtroom 1
                  21
                                                             Phase 1:
                  22                                         Pre-trial Conference: May 19, 2008
                                                             1(a) Trial Date :     May 27, 2008
                  23                                         1(b) Trial Date:      July 23, 2008
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                             WILLIAMS DEC ISO MATTEL'S OPP. TO MGA'S MOTION TO QUASH MCFARLAND'S TRIAL SUB.
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                                             #:103925



                   1                I, Lesley E. Williams, declare as follows:
                   2                1.    I am a member of the bars of the States of California and New
                   3 York and an attorney at the law firm Quinn Emanuel Urquhart Oliver & Hedges,
                   4 LLP, attorneys for plaintiff and counter-defendant, Mattel, Inc. (“Mattel”). Except
                   5 where otherwise noted, I make this declaration of personal, firsthand knowledge
                   6 and, if called and sworn as a witness, I could and would testify competently thereto.
                   7                2.    Attached as Exhibit 1 is a true and correct copy of a Complaint
                   8 in MGA v. Multi Toy, dated April 9, 2004.
                   9
                                    I declare under penalty of perjury under the laws of the United States of
                  10
                       America that the foregoing is true and correct.
                  11
                                    Executed this 22nd day of July, 2008, at Los Angeles, California.
                  12
                  13
                                                                  /s/ Lesley E. Williams
                  14                                             Lesley E. Williams
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                               WILLIAMS DEC ISO MATTEL'S OPP. TO MGA'S MOTION TO QUASH MCFARLAND'S TRIAL SUB
